Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 1 of 18 Pageid#: 2




                                                 7:21mj121
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 2 of 18 Pageid#: 3
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 3 of 18 Pageid#: 4
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 4 of 18 Pageid#: 5
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 5 of 18 Pageid#: 6
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 6 of 18 Pageid#: 7
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 7 of 18 Pageid#: 8
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 8 of 18 Pageid#: 9
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 9 of 18 Pageid#: 10
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 10 of 18 Pageid#: 11
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 11 of 18 Pageid#: 12
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 12 of 18 Pageid#: 13
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 13 of 18 Pageid#: 14
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 14 of 18 Pageid#: 15
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 15 of 18 Pageid#: 16
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 16 of 18 Pageid#: 17
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 17 of 18 Pageid#: 18
Case 7:21-mj-00121-RSB Document 1-1 Filed 08/19/21 Page 18 of 18 Pageid#: 19




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